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                                                                            Document 219-2

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                                                                                      Page 246
                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
         Case No. 11-cv-01611-MSK-CES
         WESTERN CONVENIENCE STORES, INC" a Colorado
         corporation, WESTERN TRUCK ONE, LLC, a Colorado
         limited liability company,
         Plaintiffs,
         v0.
         SUNCOR ENERGY (U.S.A.) ENC., a Delaware corporation,
         Defendant.
         vs.
         HOSSEIN AND DEBRA LYNN TARAGHI,
         Third-Party Defendants.

         VIDEOTAPED DEPOSITION OF STEPHEN MOSS -- VOLUME II
         January 30, 2013


                                     DepoSition location:
                                     370 17th Street, Suite 3500
                                     Denver, Colorado
         APPEARANCES:
                        KATHLEEN E. CRAIGMILE, ESQ.
                        KENNETH R. BENNINGTON, ESQ.
                        BENNINGTON JOHNSON SIERMANN &
                        CRAIGMILE, LTC
                        370-17th Street, Suite 3500
                        Denver, Colorado 80202
                             and




                                                 EXT-IIBIT CC




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                                                     Page 315                                                       Page 317
      1 with Mr. Piseatelli, the Suncor pricing person,            1 that, which --
      2   about, you know, getting input from him as to how you    2         Q. So in 2010 you started feeling some
          would bid these contracts or price your unbranded        3 pressure from above in Canada to start —
          contracts?                                               4         A. 2009, 2010, I don't recall exactly
      5         A. No. PiscineIli had nothing to do with           5 when it started.
      6 how we priced or what we sold product to our customer      6         Q. Okay. Would you take a look at
      7 for. I would have approached -- Mr. Piscatelli was         7 Deposition Exhibit 54, please?
      8 part of the supply group, so obviously I would have                  A. 54.
      9 made sure that 1 had the supply. No point in me                      Q. Yes. Do you have that?
     10 going and saying, hey, I'm going to do X amount of          0        A. Corre,ct.
     11 product and I tell Kroger yes, I'm going to sell          11         Q. All right. That's a contract between
     12 this, and then that's when Piscatelli says where are      12 Suncor and Mini Mart dated September 30th, 2010.
     13 you going to get the product from, I don't have it.       13 It's a one-year contract for purchases of E-10 and
     14 So I had to make sure the product was —                   14 diesel from Fountain and Denver.
     15         Q. Available?                                     15            is that accurate?
     16         A. —1 was correct and available,                  16         A, Yes. It's Mini Mart and --
     17         Q. Okay.                                          17         Q. Right, Mini Mart.
     18         A. So that's the only input he would have         18         A. Fountain and Denver. It looks like the
     19 had.                                                      19 contract, correct.
     20         Q. Did you ever see any document relating         20         Q. Okay, And at this point your E-10
     21 to Western Convenience Stores' creditworthiness in        21 price is going up a little bit it appears to
     22 the 2009 to early 2011 time frame?                        22 Dillon — or, excuse me, Mini Mart based on the
     23         A. I don't recall any particular                  23 previous contract, because the previous word was
     24 incident — or particular occasion when I would have       24 Fountain rack les,            — I believe, and this
     25 seen those documents. I was aware that we were            25 one is now down 1,          vats per gallon off that OPTS
                                                     Page 316                                                       Page 318
      1 trying — that by — well, depending on the time I      I.       rack.
      2 think we started, Mr. Smith was my boss when we       2                   Do you recall why that change was made?
      3 started looking at all the credits, as 1 mentioned    3                         StiAHEEN: Lot me object. I think
      4 earlier, I got Kendall got very involved with         4       you've misstated the earlier contract price.
          Western Convenience with regards to credit. So                          But go ahead and answer the question.
      6 obviously we were trying to get their                 6              A. Y. aLe i dior contract price,
      7 creditworthiness up or — but as I said, exact         7       whatever it was 111, if I recall, is nown
      8 incidents I don't recall.                                                 This .,. a renewal of the contract.
                  Q. Do you recall why — when you talk        9              Q. M-hra.
     10 about Kendall, you're talking about Kendall Carbone? 10              A. And what I've d               I've renegotiated
      1           A. Correct.                                11       and said --J probably said             k probably too high
     12          Q. Do you recall why she got involved with  12       now with the market.
     13 Western's credit?                                    13                   Again, it's months Inter, The market
                  A. Well, she became the director of the    14       was               so drastically during these time periods
     15 sales department, so it became her job to -- you     15       that I've said            SOtilewlielng the line I
      6 know, to — to be overseeing our customers, my        16       come up with a instead of a=
     17 customers, because as I said, she was my manager,      7                  It looks like it's the same volumes.
     18 director by then, and as I mentioned before, we were 18       I'd have to go back and check I don't recall.
     19 starting to get, I won't say pressure, hut the       19       Time-wise I'm just looking to see, I don't see
     20 director from Canada, our parent companies, was to   20       anything that's different apart from we've changed
     21 get our credit lines — they were -- they felt that            that: prim.
     22 we weren't managing our credits and our customers    22              Q. When you increased the price a little
          as - - as properly as we should basically, so they 23       bit here from Qccnt5 per gallon discount to
      4 were like please tidy up your your credit, get all   24                  it biia ..(1 on the fact that the margins that
     25 our credit information u to date and thin _s like    25       Suncor was OXfr riencint under the previous version of
                                                                                          19 (Pages 315 to 318)
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      1 the contract were just too small, or was it based on      1 eontract offering to Western these same price terms
      2 your view of what was going to happen in the future       2 that you had given to Mini Mart?
          with respect to the market?                             3        A. I don't recall what !would have —
                A. It wouldn't have really been margins,          4 what I was offering back then. Probably not,
      5 it would have been just the market. I probably went       5 because, again, they worked off the Suncor rack, so
      6 ahead and reevaluated the numbers allowing for            6 it would have been a totally different price
      7 whatever the last 12 months and decided that the OPIS     7 mechanism. It would have been similar. Knowing the
      8 number was — was n        ,   tie different or it         8 way! did business back then, it would have been
      9 changed and that that          :1;- — there could have    9 similar.
     10 been a lot of reasons, an can't really say what --       10        Q. All right. Can you take a look at
     11 what the reasons are.                                    11 Deposition Exhibit 50, please. And this appears to
     12         Q. What I'm trying to get at, do you             12 be sort of a corresponding contract for Dillon in
     13 recall there being a point where you're saying or        13 this same time frame, starting October 1st, 2010 and
     14. someone is saying to you we are losing money on         14 then going for one year, and you are giving Dillon
     15 ' this —                                                 15 the same prices that you were giving Mini Mart in the
     16         A. Oh.                                           16 contract at the same time.
     17         Q. -- Kroger deal, you need -- when you          17            Is that accurate?
     it) renegotiate you need to raise the price?                18        A. It looks like weve gone ahead and kept
     19         A. No, I don't recall any conversations          19 the contract the same, yeah, it's the same price as
     20 like that. Usually --I mean, usually on these bids       2 0 what we did with the Loaf 'N Jug/Mini Mart.
          it was pretty much my -- my decision to come up with   21        Q. All right, Let me ask you this. It
     22 a price, you know, as long as I -- if somebody asked     2 2 says for Fountain DI3PM. What does that mean?
     23 me, like my boss, if— if Ms. Carbone or Mr. Smith,       23 "      A. Well, Fountain is the—is the
     24 eventually Mr. Ewing, if they said where are you         24 terminal, which is our —
     25 coming up with these numbers, obviously! had to be       25        Q. Pipeline terminal?
                                                      Page 320                                                    Page 322
      1 able to show them something significant, I couldn't       1          A. Pipeline — pipeline terminal we used
      2 just say, well, it just sounded like a good number on     2   in Colorado Springs.
      3 my home today, you know.                                  3              I'm assuming that must be a print error
      4        Q. Right?                                          4   or something — well, FIPM is barrels per month, but!
      5       A. There had to be some good basis. And             5   don't know why there's not a number in there,
        as long as I could show them that this was a good         6          Q. So you don't — the term — or the
      7 number, that it was justifiable, I didn't usually         7   acronym DBPM doesn't mean anything to you"?
      8 gut-- and I can't recall even -- really having any        8          A. Oh. You know what? If there's no —
      9 of those conversations but..,                             9   there's nothing in there, that means I wasn't — I
     10       Q. Okay. And I just want to see if your            10   didn't — I'm sorry, excuse me. I'm just looking
     11 testimony is the same with respect to this time          11   through this.
     12 frame,                                                   12              This says for Denver-Grand Junction, so
     13           Do you recall at this time frame making        13   Pm now -- I've now added the Grand Junction contract
     14 an offer to Western for a year-long contract or a        14   to this as well. I believe the way this reads, and
     15 year-long contract based on these prices'?                5   without going back and looking, is we did not get the
     16        A. Again this is close — this is — well,          16   Colorado Springs business for Kroger. We lost that
     17 this is — this particular contract is September. I       17   business.
     18 wanted yearly contracts, and [ believe we were still     18         Q. Okay.
     19 chasing a yearly contract with Western Convenience.      19         A. And that Fountain is there because
     20 And why we didn't have one in place or why — well,       20   we — on the previous contract we had it, but now
     21 this one, in September ! wouldn't have, because their    21   because there's no figures in there and no pricing,
     22 contracts were — were -- were pretty much yearly, so     22   we are not doing —
     23 I would have been chasing them later after this,         23          Q. So its almost the equivalent of not
     24        Q. Do you recall beginning in January 2011        24   applicable?
     25 when you would have been chasin. Western for a ea        25          A. Yes.
                                                                                        20 (Pages 319 to 322)
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